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SOUTHERN DISTRICT OF NEW YORK
                                                  )     Chapter 11
In re                                             )
                                                  )     Case No. 09-10156 (ALG)
TRONOX INCORPORATED, et al.,                      )
                                                  )     Jointly Administered
                     Debtors.                     )
                                                  )
                                                  )
TRONOX INCORPORATED, et al.,                      )
                                                  )
                     Plaintiffs,                  )
v.                                                )
                                                  )
KERR-MCGEE CORPORATION, et al.,                   )
                                                  )     Adv. Pro. No. 09-01198 (ALG)
                     Defendants.                  )
                                                  )
THE UNITED STATES OF AMERICA,                     )     DEFENDANTS’ RESPONSE
                                                  )     TO PLAINTIFFS’ POST-TRIAL
                     Plaintiff-Intervenor,        )     REQUEST FOR ATTORNEYS’
v.                                                )     FEES AND COSTS
                                                  )
TRONOX, INC., et al.,                             )
                                                  )
                     Defendants.                  )
                                                  )
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                                       INTRODUCTION

        Plaintiffs’ request for an award of attorneys’ fees in this case is contrary to law and

should be rejected. Plaintiffs acknowledge in a footnote to their brief, see Pltfs. Br. at 8 n.4, as

they must, that the “American Rule” generally requires litigants to pay their own attorneys’ fees.

Plaintiffs argue for an exception to this rule based on Section 550 of the Bankruptcy Code. Id.

But the plain language of Section 550 does not authorize an award of attorneys’ fees, and the

Supreme Court has squarely rejected the very policy arguments Plaintiffs advance in favor of

allowing a fee award under Section 550. Plaintiffs are thus forced to rely on dicta from a few

courts, and a vacated decision from another, that cannot be reconciled with the text of Section

550 or well-established case law regarding the American Rule. Plaintiffs also choose to ignore

that every court which has considered Section 550 against the backdrop of the American Rule

has concluded that Section 550 does not establish an exception to the general American Rule

against fee shifting.

        Plaintiffs’ request for litigation costs suffers similar flaws. The overwhelming majority

of the costs Plaintiffs seek are not recoverable as a matter of law. Plaintiffs failed to provide

sufficient information about the remaining costs for Defendants—or the Court—to assess

whether such costs are recoverable. This is reason enough to deny Plaintiffs’ request outright.

But in an effort to minimize the issues before the Court, Defendants have requested additional

information from Plaintiffs in the hope that the parties can present the Court with a stipulation as

to those costs the Court has discretion to award. Absent a production of the information needed

to determine whether the costs sought are recoverable, Plaintiffs’ request for costs should be

denied in its entirety.
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                                          ARGUMENT

I.     THE AMERICAN RULE PRECLUDES AN AWARD OF ATTORNEYS’ FEES
       TO PLAINTIFFS.

       A.      Section 550 Does Not Provide A Basis For Departing From The American
               Rule Against Fee Shifting.

       Under the general American Rule, which has been the law in the United States for more

than two centuries, a “prevailing party may not recover attorneys’ fees as costs or otherwise.”

Alyeska Pipeline Service Co. v. Wilderness Soc’y, 421 U.S. 240, 245 (1975). As the Supreme

Court explained in Alyeska, the American Rule governs unless Congress has made “specific and

explicit provisions for the allowance of attorneys’ fees under selected statutes granting or

protecting various federal rights.” Id. at 260 (emphasis added); see also Marx v. Gen. Revenue

Corp., 133 S. Ct. 1166, 1175 (2013); Key Tronic Corp. v. United States, 511 U.S. 809, 818-19

(1994) (recognizing the “general practice of not awarding fees to a prevailing party absent

explicit statutory authority” (emphasis added)).

       Section 550 of the Bankruptcy Code, the only statutory provision Plaintiffs invoke in

their request for attorneys’ fees, does not contain the necessary “specific and explicit”

authorization to reverse the American Rule and shift fees. Plaintiffs do not even attempt to

suggest that it does. Under Alyeska, that should end the inquiry; Plaintiffs’ attempt to recover

attorneys’ fees is foreclosed.

       That Section 550 cannot somehow be read to include an “implicit” authorization for fee

shifting is reinforced by the decision of Congress not to include a general provision in the

Bankruptcy Code authorizing an award of attorneys’ fees. See BankBoston, N.A. v. Sokolowski

(In re Sokolowski), 205 F.3d 532, 535 (2d Cir. 2000) (“there is no general right to attorney’s fees

in bankruptcy actions”). When Congress determined that fee shifting should be available in


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particular bankruptcy proceedings, it made that intent plain through “specific and explicit”

language. Thus, for example, Section 362 of the Code provides that “an individual injured by

any willful violation of a stay provided by this section shall recover actual damages, including

costs and attorneys’ fees.” 11 U.S.C. § 362(k) (emphasis added).                Section 550, by contrast,

provides that a trustee may recover “the property transferred” or “the value of such property,” id.

at § 550(a), but does not include a specific and explicit provision for the recovery of attorneys’

fees, confirming that Congress did not intend to permit fee shifting under Section 550. See Key

Tronic, 511 U.S. at 818-19 (observing that express authorization to recover attorneys’ fees under

some sections of statutory scheme but not others “strongly suggest[s] a deliberate decision not to

authorize such awards” under the latter).1

        B.      Courts Considering The American Rule And Governing Precedent Have
                Concluded That Section 550 Does Not Provide An Exception To The
                American Rule Against Fee Shifting.

         Plaintiffs not only avoid any analysis of the language of Section 550, they also ignore

altogether those cases that follow the American Rule and find that Section 550 does not

authorize an award of attorneys’ fees. See, e.g., In re Meadows, 396 B.R. 485, 491, 498 & n.7

(B.A.P. 6th Cir. 2008) (“attorney fees are not recoverable under §§ 549 and 550”); Cini v.

Genesis Enters., Inc. (In re Cini), Adv. No. 11-00056, 2011 WL 6209610, at *16 n.12 (Bankr. D.


1
  While Plaintiffs invoke only Section 550 in their request for attorneys’ fees, the American Rule also
would preclude an award of attorneys’ fees under the Oklahoma UFTA and the Federal Debt Collection
Procedures Act. Like Section 550, those statutes do not include a specific and explicit provision for the
allowance of attorneys’ fees, and therefore, cannot provide a basis for fee shifting. See Okla. Stat. tit. 24,
§ 119 (listing the remedies available to a creditor under the Oklahoma UFTA, which do not include a
recovery of attorneys’ fees); 28 U.S.C. § 3306 (listing the remedies available to the United States in a
fraudulent transfer action under the FDCPA, which do not include a recovery of attorneys’ fees); see also
Combs v. Shelter Mut. Ins. Co., 551 F.3d 991, 1001 (10th Cir. 2008) (stating “Oklahoma strictly adheres
to the American rule concerning attorney's fees”); In re Lexington Oil & Gas Ltd., 423 B.R. 353, 374-75
(Bankr. E.D. Okla. 2010) (holding that the prevailing party on a fraudulent transfer claim brought under
the Oklahoma UFTA was not entitled to recover attorneys’ fees).

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Mont. Dec. 14, 2011) (Section 550 “[does] not provide for an award of attorney fees to the

prevailing party.”); In re Cahillane, 408 B.R. 175, 214 (N.D. Ind. 2009) (“Neither § 548 nor §

550 of the Bankruptcy Code specifically authorize an award of attorneys' fees to a prevailing

party.”). Instead, Plaintiffs cite language from a few cases they claim establish that fee shifting

is permitted under Section 550. The decisions Plaintiffs choose to rely on fail to consider the

language of Section 550, the American Rule, or governing precedent. Far more cases—and

more recent cases, to boot—have correctly held, in reliance on the American Rule, the language

of Section 550 and governing precedent, that Section 550 does not permit fee shifting.

       Plaintiffs principally rely on dicta in In re Fugazy Express, Inc., 159 B.R. 432 (Bankr.

S.D.N.Y. 1993), which involved a post-petition action to recover property transferred to a third

party in violation of the automatic stay provisions of Section 362 (which, as noted, expressly

authorizes fee shifting). Following a finding of liability, the Fugazy court “looked to §§ 362(h),

549 and 550 of the Code and New York State law” to award attorneys’ fees and other relief to

the prevailing party. Id. at 435. After the Second Circuit subsequently held that the remedy

provisions in Section 362 apply only to “individuals” and not corporations, see In re

Chateaugay, 920 F.2d 183, 184-86 (2d Cir. 1990), the Fugazy defendants moved to vacate the

bankruptcy court’s award of attorneys’ fees. 159 B.R. at 435-437. The bankruptcy court denied

the motion, holding that the district court’s prior denial of the defendants’ motion for re-

argument on the same issue was the law of the case and precluded further review. Id. at 438.

       The Fugazy court then proceeded to state, in dicta and without any reference to the

American Rule or governing precedent requiring “specific and explicit” statutory language for an

exception to the general rule against fee shifting, that “the sanctions imposed, including the

accounting, attorneys’ fees and costs, remain appropriate based upon the serious and egregious

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[post-petition] misconduct of the Defendants and §§ 549 and 550 of the Code.” Id. at 439. In

support of this statement, the court asserted that:

                [T]he leading bankruptcy commentator suggests that § 550 of the
                Code provides the basis for an award of attorneys’ fees and costs. 4
                L. King Collier on Bankruptcy, ¶550.2 at 550-9 (15th ed. 1990).
                (In discussing § 550, noting that “[a]s under prior law the
                bankruptcy court should exercise its equitable powers to award the
                trustee interest and costs when appropriate.”)

Id. at 437. But, of course, the recognition in the Collier treatise that a court may award “interest

and costs” in actions brought under Section 550 does not establish either that the author of the

Collier treatise believed Section 550 authorizes an award of attorneys’ fees or that Section 550

does, in fact, authorize such an award.2 Cf., Marek v. Chesny, 473 U.S. 1, 7-8 (1985) (observing

that under American Rule, “‘costs’ generally ha[ve] not included attorney's fees”); Roadway

Express., Inc. v. Piper, 447 U.S. 752, 757-58 (1980); Alyeska, 421 U.S. at 260

        The three additional cases Plaintiffs cite all rely on the (erroneous) dicta from Fugazy

and, accordingly, are just as flawed. Like Fugazy, none considers the applicability of the

American Rule or governing precedent requiring specific and explicit statutory authorization for

fee shifting.   Indeed, only one decision even awards attorneys’ fees—and that award was

vacated, on other grounds, by the district court. See LFG, LLC. v. Navarre, No. 01C9451, 2002

WL 1379112, at *4 (N.D. Ill. June 26, 2002) (denying motion to strike request for attorneys’ fees

based on Fugazy); In re Linc Capital, Inc., 310 B.R. 847, 855, 863 (Bankr. N.D. Ill. 2004) (citing

LFG and Fugazy for the proposition that Section 550 would provide the basis for a fee award,

but concluding plaintiff’s claim was barred by res judicata); In re Tousa, Inc., 422 B.R. 783,


2
 The Fugazy court did not assert, as Plaintiffs represent in their brief (at 6), that the Collier treatise
“agreed” that Section 550 provides the basis for an award of attorneys’ fees. The court merely stated
(erroneously) that Collier “suggests” that Section 550 allows for fee shifting.

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881-82 (Bankr. S.D. Fla. 2009) (citing Fugazy in support of an award of attorneys’ fees under

Section 550), rev’d on other grounds, 444 B.R. 613 (S.D. Fla. 2011), rev’d, 680 F.3d 1298 (11th

Cir. 2012).3

        Courts considering requests for fee awards under Section 550 after Fugazy and its

progeny agree that attorneys’ fees are not recoverable under Section 550. In re Phillips, 379

B.R. 765, 789 (Bankr. N.D. Ill. 2007) (denying an award of attorneys’ fees under Section 550 in

a case decided after LFG, LLC and In re Linc Capital); Martinez v. Hutton (In re Harwell), 05-

41744-ABC, 2011 WL 4566443, at *11 (Bankr. M.D. Fla. Sept. 30, 2011) (stating in case

decided after In re Tousa that there is “no basis for allowing attorneys’ fees in actions to avoid

fraudulent transfers or to seek recovery under Section 550”); see also Congressional Research

Services, Federal Statutes That Authorize Awards of Attorneys’ Fees (June 20, 2008) (listing

federal statutes that authorize awards of attorneys’ fees, including certain bankruptcy code

provisions such as Section 362, but not Section 550). The absence of any basis for an award of

attorneys’ fees under Section 550 has rightly led one commentator to describe the Fugazy line of

cases as “questionable holdings.” 1 Bankr. Litig. § 5:234 (West 2013). In sum, both Plaintiffs

and the cases Plaintiffs rely on fail to address: (i) the absence of a specific and explicit provision

for the allowance of attorneys’ fees in Section 550; and (ii) those court decisions which hold that

the absence of such a provision in Section 550 precludes an award of attorneys’ fees under the

American Rule.




3
 In re Tousa currently is on remand to the district court for consideration of an appropriate remedy, but
has been stayed pending the Supreme Court’s decision in Exec. Benefits Ins. Agency v. Arkison (In re
Bellingham Ins. Agency), 702 F.3d 553 (9th Cir. 2012), cert. granted, 133 S. Ct. 2880 (2013). ECF No.
65, In re Tousa, Inc., No. 10-62035 (S.D. Fla. Jan. 27, 2014).

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        C.      Plaintiffs’ Policy Arguments Are Meritless.

        Lacking support in either the plain text of Section 550 or well-reasoned authority,

Plaintiffs fall back on policy arguments to support their claim for attorneys’ fees, contending that

“[a]warding fees and costs is consistent with the purpose of § 550” and that given the “tens of

millions in fees and costs” Plaintiffs have purportedly spent in this litigation, fee shifting is

necessary “[t]o fully restore the estates to their pre-transfer petitions.” Pltfs. Br. at 7. But the

Supreme Court has repeatedly held that such policy arguments, which underlie the “English

Rule,” are plainly insufficient to overcome the American Rule, even if the result is that a litigant

who must cover its own litigation fees will not be made “whole.” See, e.g., Summit Valley

Indus., Inc. v. Local 112, United Bhd. of Carpenters & Joiners of Am., 456 U.S. 717, 724 (1982)

(“[e]ven assuming that attorney’s fees are necessary to achieve full compensation, this

justification alone is not sufficient to create an exception to the American Rule in the absence of

express congressional authority”); F.D. Rich Co. v. United States ex rel. Indus. Lumber Co., 417

U.S. 116, 128-129 (1974) (same). Because deviations from the American Rule require weighing

“[t]he perspectives of the profession, the consumers of legal services, and other interested

groups[,]” the Supreme Court has directed that “[a]rguments for a further departure from the

American Rule . . . are properly addressed to Congress.” F.D. Rich, 417 U.S. at 131. Because

Congress has not elected to authorize the recovery of attorneys’ fees in actions under Section

550, Plaintiffs’ policy arguments are unavailing, as is their request for attorneys’ fees.4



4
 If—notwithstanding the American Rule—the Court determines it should consider Plaintiffs’ request for
an award of attorneys’ fees, Plaintiffs first should be required to disclose to Defendants the special fee
arrangement between Plaintiffs and their counsel. The terms of that fee arrangement limit the amount of
any fees that Plaintiffs may recover. Any fee award to Plaintiffs in excess of the fees Plaintiffs have
actually paid to counsel would result in a windfall to Plaintiffs. See, e.g., In re Gen. Motors Corp., 110
F.3d 1003, 1034 & n.25 (4th Cir. 1997) (applying a discount to an award of attorneys’ fees based on the

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II.       THE OVERWHELMING MAJORITY OF THE COSTS PLAINTIFFS SEEK ARE
          NOT RECOVERABLE.

          Consistent with the American Rule, a litigant’s recovery of litigation costs is limited to

those authorized by statute, specifically Sections 1821 and 1920 of Title 28. See Crawford

Fitting Co. v. J. T. Gibbons, Inc., 482 U.S. 437, 441, 444-45 (1987). Under these statutes,

recoverable costs are limited to trial-related costs such as a trial-witness attendance fee ($40 per

day), trial-witness travel expenses, a subsistence allowance (or per diem) for trial witnesses, trial

(and in some instances deposition) transcript costs, trial-exhibit costs, trial-related copying costs,

and certain court costs, such as filing fees. See 28 U.S.C. §§ 1821, 1920. Local Civil Rule 54.1

of the Local Rules of the United States District Courts for the Southern and Eastern Districts of

New York further describes the specific costs identified in Sections 1821 and 1920 that are, and

are not, recoverable.5

          A.      Plaintiffs’ Expert Fees Are Not Recoverable.

          Plaintiffs’ expert witness fees and costs, which were incurred throughout this litigation

and total more than $24 million, constitute the overwhelming majority of Plaintiffs’ $30 million

request for costs. But it has been black letter law in the United States for almost thirty years that

such fees and costs are not recoverable. As the United States Supreme Court held in Crawford,



discounted fees paid to Kirkland & Ellis); KMS Fusion, Inc. v. United States, 39 Fed. Cl. 593, 605 (Fed.
Cl. 1997) (basing an award on a rate above that actually incurred would create a windfall for plaintiff).
5
    For example, Local Civil Rule 54.1(c)(1) provides:
          The cost of any part of the original trial transcript that was necessarily obtained for use in
          this Court or on appeal is taxable. Convenience of counsel is not sufficient. The cost of a
          transcript of Court proceedings prior to or subsequent to trial is taxable only when
          authorized in advance or ordered by the Court.

S.D.N.Y. Local Civ. R. 54.1(c)(1).



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“when a prevailing party seeks reimbursement for fees paid to its own expert witnesses, a federal

court is bound by the limit of [the statutory trial witness attendance fee in] § 1821(b).” Crawford

Fitting Co., 482 U.S. at 445. And Section 1821(b) limits the amount recoverable for a litigants’

witness to “$40 per day for each day’s attendance . . . [and] the attendance fee for the time

necessarily occupied in going to and returning from the place of attendance at the beginning and

end of such attendance or at any time during such attendance.” The Crawford Court specifically

rejected an argument that Federal Rule of Civil Procedure 54(d) authorizes courts to award

expert fees beyond the limited trial-witness attendance fees provided in Section 1821, explaining

that Rule 54(d) does not give a judge “discretion to tax whatever costs may seem appropriate;”

rather, the term “costs” is limited and defined by 28 U.S.C. Sections 1821 and 1920. Id. at 441-

42. Because no other statute or contract provision authorized an award above the trial-witness

attendance fee specified in Section 1821, the Court held that no expert fees in excess of that

amount were recoverable.

        Plaintiffs have made no attempt to distinguish Crawford (or even acknowledge its

holding) and have not identified any statute or contract provision that would support their request

for more than $24 million in monies paid to their experts.6 As the Second Circuit stated in

United States ex rel. Evergreen Pipeline Constr. Co. v. Merritt Meridian Constr. Corp., 95 F.3d

153, 173 (2d Cir. 1996), “[w]e are at a loss to see how [Plaintiffs] could seek [expert fees] in

light of Crawford.”



6
 In support of their request for costs, Plaintiffs rely on Section 550 and authorities concluding that an
award of litigation costs is appropriate in cases brought under Section 550. See Pltfs. Br. at 6-7. But
Section 550 does not authorize an award of any particular litigation costs and thus does not expand the
narrow categories of recoverable costs specified in 28 U.S.C. Sections 1821 and 1920. See 11 U.S.C. §
550; Crawford, 482 U.S. at 445.

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        B.      Plaintiffs’ Remaining Costs Are Not Recoverable Or Lack Sufficient Detail
                to Permit An Award Without Further Disclosure.

        From the limited information provided, it appears that many of the additional costs

Plaintiffs seek also are not recoverable.        By way of example, Plaintiffs seek to recover

$12,507.55 in “catering expenses,” which are not among the narrow categories of recoverable

costs identified in Sections 1821 and 1920. See Pltfs. Br. at Ex. D. But Plaintiffs have failed to

provide, either to the Court or to Defendants, the additional information required to determine

whether each of the costs Plaintiffs seek falls within the narrow categories that are recoverable.

See Plaintiffs’ Fee Request at 10 n.7 (acknowledging that Plaintiffs have not provided records for

costs other than those related to its experts). Plaintiffs’ failure to provide the required detail

warrants the denial of their request for costs outright. See In re Omeprazole Patent Litig., 2012

WL 5427791, at *4 (S.D.N.Y. Nov. 7, 2012) (denying all copying costs where the requesting

party failed to demonstrate that these costs fall with in an allowable category of recoverable costs

and denying all costs for witnesses’ airfare because the requesting party failed to provide a

“receipt or other evidence of actual cost” as required by 28 U.S.C. § 1821); see also Evergreen

Pipeline, 95 F.3d at 173 (noting photocopying costs may be recovered so long as costs are

itemized or explanation is provided as to why the copies were necessary). In an attempt to

narrow the issues before the Court, Defendants have requested that Plaintiffs provide information

concerning the costs at issue and have offered to work with Plaintiffs to develop a stipulation as

to the costs that the Court has discretion to award. Unless sufficient information is provided to

support Plaintiffs’ request for costs, Plaintiffs’ request should be denied in its entirety.




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                                         CONCLUSION

       For the foregoing reasons, the court should deny Plaintiffs’ request for an award of

attorneys’ fees. The court should further deny Plaintiffs’ request for all costs not authorized by

28 U.S.C. §§ 1821 and 1920.



March 14, 2014                                       Respectfully submitted,



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                              CERTIFICATE OF SERVICE

      I hereby certify that the foregoing Defendants’ Opposition to Plaintiffs’ Post-Trial
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